                  Case 1:20-cr-00123-NODJ-BAM Document 8 Filed 08/03/20 PagePage
AO 199A (Rev. 12/11- EDCA [Fresno]) Order Setting Conditions of Release
                                                                              1 1ofof 3                                          3       Pages



                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                 Eastern District of California                                         FILED
                                                                                                                        Jul 31, 2020
                                                                                                                    CLERK, U.S. DISTRICT COURT
                                                                                                                  EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,
                                                                          )
                              v.                                          )
                                                                          )             Case No.      1:20-CR-123 DAD BAM
MARIA MUNOZ,                                                              )


                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:                         United States District Court, 2500 Tulare Street, Fresno, CA 93721
                                                                                              Place



      on                                              October 13, 2020, at 1:00 PM Before Magistrate Judge Barbara A. McAuliffe
                                                                              Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance and Compliance Bond, if ordered.
                 Case
 AO 199B (Rev. 09/08-    1:20-cr-00123-NODJ-BAM
                      EDCA                                             Document 8
                           [Fresno]) Additional Conditions of Release (General)     Filed 08/03/20 Page 2 of 3
                                                                                                             Page 2 of            3 Pages

 Munoz, Maria
 Doc. No. 1:20-CR-00123-DAD-BAM-02

                                        ADDITIONAL CONDITIONS OF RELEASE
                                                                    
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety
of other persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked
below:

       (6)     The defendant is placed in the custody of:

                  Name of person or organization

         who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the
         appearance of the defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the
         defendant violates any conditions of release or disappears.

                  SIGNED: ________________________________
                                    CUSTODIAN
    ;   (7)     The defendant must:
        ;       (a) report on a regular basis to the following agency:
                    Pretrial Services and comply with their rules and regulations;
        ;       (b) report telephonically to the Pretrial Services Agency on Monday, August 3, 2020, at 9:00 a.m.
        ;       (c) reside at a location approved by the PSO, and not move or be absent from this residence for
                    more than 24 hrs. without prior approval of PSO; travel restricted to Eastern District of
                    California, unless otherwise approved in advance by PSO;
        ;       (d) report any contact with law enforcement to your PSO within 24 hours;
        ;       (e) cooperate in the collection of a DNA sample;
        ;       (f) not associate or have any contact with your codefendant, unless in the presence of counsel or
                    otherwise approved in advance by the PSO;
        ;       (g) maintain or actively seek employment, and provide proof thereof to the PSO, upon request;
        ;       (h) not possess, have in your residence, or have access to a firearm/ammunition, destructive
                    device, or other dangerous weapon; additionally, you must provide written proof of divestment
                    of all firearms/ammunition, currently under your control;
        ;       (i) refrain from excessive use of alcohol, or any use of a narcotic drug or other controlled
                    substance without a prescription by a licensed medical practitioner; and you must notify
                    Pretrial Services immediately of any prescribed medication(s). However, medical marijuana,
                    prescribed and/or recommended, may not be used;
         
     Case 1:20-cr-00123-NODJ-BAM Document 8 Filed 08/03/20 Page 3 of 3




;;




      Jul 31, 2020


                                  Erica P. Grosjean, U.S. Magistrate Judge
